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                                     EXHIBIT D

                                   Proposed Order
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                              IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF LOUISIANA



     In re:                                                            Case No. 20-10846

     THE ROMAN CATHOLIC CHURCH OF THE                                  Section “A”
     ARCHDIOCESE OF NEW ORLEANS,
                                                                       Chapter 11
                               Debtor. 1



                    ORDER ADOPTING RULE 706 EXPERT’S
         RECOMMENDATIONS AND IMPLEMENTING CERTAIN CASE DEADLINES


              Upon consideration of the Rule 706 Expert Witness’ Report (the “Expert Report”) [Docket

 No. [●]], the Court finds that there is good cause for the Court to adopt the recommendations of

 the Expert as set forth in the Expert Report and ORDER as follows:

              1.     The Debtor, the Official Committee of Unsecured Creditors, the Apostolates,

 counsel to the Certain Abuse Survivors, the insurers, the Bond Trustee, and/or any other party in

 interest in this Chapter 11 Case (the “Parties”) shall work in good faith over the 90-day period

 commencing on the date of this Order (the “90-Day Period”) to reach a consensual resolution of

 open issues, including through continued mediation.

              2.     During the 90-Day Period, the Court will hold any further rulings in connection

 with the Certain Abuse Survivors’ Motion to Appoint a Chapter 11 Trustee and Fee Examiner

 Pursuant to 11 U.S.C. § 1104 [Docket No. 3246] or the pending professional fee-related filings 2



 1
       The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
       business is located at 7887 Walmsley Ave., New Orleans, LA 70125.
 2
       The pending professional fee-related filings include: (i) Eleventh Interim Application of Jones Walker LLP for
       Allowance of Compensation and Reimbursement of Expenses, as Counsel to the Debtor and the Debtor in
       Possession, for the Period from November 1, 2023 Through February 29, 2024 [Docket No. 2927], and the
       objection thereto, [Docket No. 2943]; (ii) U.S. Fire Insurance Company’s and International Insurance Company’s
       (I) Statement in Connection with the Court’s Order on the Continuance of the Hearing on Jones Walker, LLP’s
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 in abeyance, and the Parties are directed not to file other motions or pleadings absent further relief

 from the Court or as otherwise provided in this Order.

          3.       As to all counsel and advisors for which fees are paid by the Debtor’s estate, no

 fees or expenses shall be paid or approved for payment during the shorter of (a) the conclusion of

 the 90-Day Period or (b) the date on which a plan of reorganization is filed that has the support of

 at least the Debtor and the Official Committee of Unsecured Creditors (the “Moratorium Period”).

 Upon the conclusion of the Moratorium Period, the Debtor shall pay 80% of the incurred and

 documented fees payable, and the Debtor shall pay the remaining 20% when the Court next

 considers interim approval of fees covering that period.

          4.       The Parties shall use the first 30 days of the 90-Day Period to complete the

 exchange of all remaining information that is identified as essential to plan-related discussions,

 and shall promptly bring any remaining disputes related to requested information or documents to

 the attention of the Court for expedient resolution.

          5.       During the 90-Day Period, the Debtor and the Official Committee of Unsecured

 Creditors are directed jointly to file reports every two weeks, beginning on the date that is two

 weeks from entry of this Order, addressing the status and progress of the Chapter 11 Case.

          6.       Each of the Mediators 3 is permitted, but not required, to provide periodic reports to

 the Court (either contemporaneously with the reports submitted by the Debtor and Official


     Eleventh Interim Application for Allowances of Compensation and Reimbursement, (II) Response to Jones
     Walker’s Fee Application (Dkt. 2927) and Gisleson’s Objection (Dkt. 2943), and (III) Motion for
     (A) Implementation of Fee Holdback for Estate Professional Interim Fee Applications and (B) Granting Related
     Relief [Docket No. 3168], and the responses thereto [Docket Nos. 3234, 3236, 3244, 3245, 3253, and 3258]; and
     (iii) Motion To Consider Whether the Materials in Question Should Be Sealed Pursuant to Local Rule 5.6(D)(2)
     [Docket No. 3248], and the response thereto [Docket No. 3260].
 3
     On September 15, 2021, upon joint motion of the Debtor and the Official Committee of Unsecured Creditors, the
     Court entered the Order Granting Joint Motion to Appoint Mediator [Docket No. 1058], pursuant to which Hon.
     Gregg W. Zive was appointed as a mediator in the Chapter 11 Case effective October 1, 2021. On March 11, 2024,
     upon joint motion of the Debtor and the Official Committee of Unsecured Creditors, the Court entered an order
     appointing John W. Perry, Jr. as an additional mediator, effective February 1, 2024, for an initial period of 120
                                                           2
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 Committee of Unsecured Creditors or at any other point in time during the 90-Day Period),

 weighing in on the status of mediation efforts and/or the Parties’ good faith participation in

 mediation. Either Mediator shall immediately inform the Court if he believes that continued

 mediation is no longer a good use of the parties’ time and resources such that he recommends the

 90-Day Period should be terminated.

         7.      At the conclusion of the 90-Day Period or earlier if the Court so determines, the

 Court will hold a further status conference, at which time the Court will consider, among other

 things, appointment of an examiner pursuant to 11 U.S.C. § 1104(c) with expanded duties and

 powers, as further determined by the Court, including but not limited to (A) to investigate and

 provide independent evaluation of, among other things, (i) the value of all of the Debtor’s assets,

 including cash, real estate, personal property, insurance proceeds, and estate claims (including

 against the Apostolates and others) to fund a plan, (ii) the value and validity of claims asserted

 against the Debtor and any viable defenses, (iii) the Debtor’s good faith in filing the Chapter 11

 Case, and (iv) whether the Chapter 11 Case should be dismissed; and (B) the ability to propose

 and file a single plan on behalf of the Debtor.

         8.      Notwithstanding anything to the contrary, the terms and conditions of this Order

 are effective immediately and enforceable upon its entry.

         9.      This Court shall retain jurisdiction to hear and determine all matters arising from

 or related to the implementation, interpretation, or enforcement of this Order.

         10.     Notwithstanding any Order limiting notice in this case, counsel for the Debtor, in

 cooperation with counsel for the other Parties, shall serve this Order via first-class mail on ALL



    days. See Order [Docket No. 2892]. On October 11, 2024 and October 21, 2024, the Court extended the
    appointment of each of Judge Zive [Docket No. 3413] and Mr. Perry [Docket No. 3430] (the “Mediators”),
    respectively, until March 31, 2025.
                                                    3
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 parties in interest not receiving electronic notice via this Court’s CM/ECF system pursuant to the

 Federal Rules of Bankruptcy Procedure and this Court’s Local Rules and shall file a certificate of

 service to that effect within three days.



        New Orleans, Louisiana, [●], 2024


                                                          MEREDITH S. GRABILL
                                                     UNITED STATES BANKRUPTCY JUDGE




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